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                               UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF VIRGINIA
                                    Charlottesville Division


  ELIZABETH SINES, SETH WISPELWEY,
  MARISSA BLAIR, APRIL MUÑIZ,
  MARCUS MARTIN, NATALIE ROMERO,
  CHELSEA ALVARADO, JOHN DOE, and
  THOMAS BAKER,

                                     Plaintiffs,                Civil Action No. 3:17-cv-00072-NKM

  v.                                                                 JURY TRIAL DEMANDED

  JASON KESSLER, et al.
                                     Defendants.



                     JOINT PROPOSED AMENDED PRETRIAL SCHEDULE

          Pursuant to the Court’s September 15, 2020 order directing the parties to file a joint

  proposed schedule for certain trial-related deadlines (ECF No. 874), the parties propose the

  following schedule: 1

                                          PROPOSED SCHEDULE

       1. Parties shall exchange witness lists on or before March 9, 2021.

       2. Parties shall exchange exhibit lists on or before March 16, 2021.

       3. Motions in limine shall be filed on or before April 5, 2021.

       4. Deposition designations shall be filed on or before April 5, 2021.

       5. Counter-designations and objections to deposition designations shall be filed on or before
          April 13, 2021.


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    Plaintiffs reached out to all parties with this proposed schedule. Plaintiffs received responses affirmatively
  consenting to this proposal from David Campbell (counsel for James Fields), James Kolenich (counsel for Jason
  Kessler, Nathan Damigo, Identity Evropa, Matthew Parrott and Traditionalist Worker Party) and Bryan Jones
  (counsel for Michael Hill, Michael Tubbs and League of the South). No other party responded or voiced objection
  to the proposed scheduling order.
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     6. Challenges to any designations made under the protective order (ECF No. 167) shall be
        filed on or before April 13, 2021.

     7. Proposed jury instructions and special interrogatories shall be filed on or before April 13,
        2021.

     8. Responses in opposition to motions in limine shall be filed on or before April 13, 2021.

     9. Objections to counter-designations shall be filed on or before April 20, 2021.

     10. Jury trial to begin on April 26, 2021.
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   Dated: September 29, 2020                 Respectfully submitted,

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                                             Counsel for Plaintiffs
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on September 29, 2020, I filed the foregoing with the Clerk of Court
  through the CM/ECF system, which will send a notice of electronic filing to:

   Justin Saunders Gravatt                            Elmer Woodard
   David L. Hauck                                     5661 US Hwy 29
   David L. Campbell                                  Blairs, VA 24527
   Duane, Hauck, Davis & Gravatt, P.C.                isuecrooks@comcast.net
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   Counsel for Defendant James A. Fields, Jr.
                                                      Counsel for Defendants Matthew Parrott,
                                                      Traditionalist Worker Party, Jason Kessler,
                                                      Nathan Damigo, and Identity Europa, Inc.
                                                      (Identity Evropa)


   Bryan Jones                                        William Edward ReBrook , IV
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   Counsel for Defendants Michael Hill,
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                                                      Socialist Movement, and Nationalist Front




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          I further hereby certify that on September 29, 2020, I also served the following non-ECF
  participants, via electronic mail, as follows:

   Elliot Kline                                       Matthew Heimbach
   eli.f.mosley@gmail.com                             matthew.w.heimbach@gmail.com

   Robert Ray                                         Christopher Cantwell
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   Vanguard America                                   Richard Spencer
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